
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding ■thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Appellant contended that his disbarment, based upon his refusal to produce any of the records specified in the subpoena duces tecum, duly issued in a judicial inquiry into professional conduct, and based upon his prior refusal to answer any questions which might be asked relating thereto, violated his constitutional privilege against self incrimination and his constitutional right to due process of law. The Court of Appeals held there was no violation of any of appellant’s constitutional rights. [¡See 16 N Y 2d 1048.]
